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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                       :    CRIMINAL NO.
                                                :
              v.                                :    MAGISTRATE NO. 21-mj-00094
                                                :
 JON SCHAFFER,                                  :    VIOLATIONS:
                                                :    18 U.S.C. § 1512(c)(2)
                                                :    (Obstruction of an Official Proceeding)
                    Defendant.                  :
                                                :    18 U.S.C. § 1752(a)(1), (b)(1)(A)
                                                :    (Entering and Remaining in a Restricted
                                                :    Building or Grounds with a Deadly or
                                                :    Dangerous Weapon)
                                                :




                                     INFORMATION

       The United States charges that:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, JON SCHAFFER attempted

to, and did, corruptly obstruct, influence, and impede an official proceeding; that is, SCHAFFER

forcibly entered the Capitol to, and did, stop, delay, and hinder Congress’s certification of the

Electoral College vote.

       (Obstruction of an Official Proceeding, in violation of Title 18, United States Code,
       Section 1512(c)(2))

                                          COUNT TWO

       On or about January 6, 2021, within the District of Columbia, JON SCHAFFER did

unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President was temporarily visiting, without lawful authority to do so, and, during and in
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relation to the offense, did carry a deadly and dangerous weapon, that is, a cannister of bear

repellent capsaicin pepper spray, commonly referred to as “bear spray.”

       (Entering and Remaining in a Restricted Building or Grounds with a Deadly or
       Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and
       (b)(1)(A))



                                            Respectfully submitted,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY
                                                   D.C. BAR NO. 415793




                                             By:
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